Case 2:15-cv-02158-GI\/|N-CWH Document 1 Filed 11/12/15 Page 1 of 13

UNITED STATES DISTRICT COUR'I`

 

 

DISTRICT OF NEVADA
VICTOR CORSARO JR., Civil Action No.:
Plaintiff, :
v. : COMPLAINT FOR DAMAGES
: PURSUANT TO THE FAIR
BANK OF AMERICA, NATIONAL : CREDIT REPORTING ACT, 15
ASSOCIATION, and EQUIFAX : U.S.C. § 1681, ET SEQ.
INFORMATIONAL SERVICES, LLC
: .]URY TRIAL DEMANDED
Defendant. '
INTRODUCTION

1. The United States Congress has found the banking system is dependent upon
fair and accurate credit reporting. inaccurate credit reports directly impair
the efficiency of the banking system, and unfair credit reporting methods
undermine the public confidence, which is essential to the continued
functioning of the`banking system. Congress enacted the Fair Credit
Reporting Act, 15 U.S.C. § 1681 et seq. (“FCRA”), to insure fair and
accurate reporting, promote efficiency in the banking system, and protect
consumer privacy. The FCRA seeks to ensure consumer reporting agencies
exercise their grave responsibilities with fairness, impartiality, and a respect
for the consumer’s right to privacy because consumer reporting agencies

have assumed such a vital role in assembling and evaluating consumer credit

Case 2:15-cv-02158-GI\/|N-CWH Document 1 Filed 11/12/15 Page 2 of 13

and other information on consumers. The FCRA also imposes duties on the
sources that provide credit information to credit reporting agencies, called
“furnishers.”

. VICTOR CORSARO JR. (“Plaintiff”), by Plaintiff’s attorneys, brings this
action to challenge the actions of BANK OF AMERICA, NATlONAL
ASSOCIATION (“BOA”) and EQUIFAX lNFORMATlONAL
SERVICES, LLC. (“Equifax”) (or jointly as “Defendants") with regard to
erroneous reports of derogatory and negative credit information made by
Defendants to national reporting agencies, and for failure of Del"endants to
properly investigate, and this conduct caused Plaintiff damages

. Plaintiff makes these allegations on information and beliel`, with the
exception of those allegations that pertain to Plaintiff, or to Plaintiff`s
counsel, which Plaintiff alleges on personal knowledge.

. While many violations are described below with specificity, this Complaint
alleges violations of the statute cited in its entirety.

. Unless otherwise stated, all the conduct engaged in by Defendants took
place in Nevada.

. Any violations by Defendants were knowing, willful, and intentional, and
Defendants did not maintain procedures reasonably adapted to avoid any

Such violation.

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Case 2:15-cV-02158-GI\/|N-CWH Document 1 Filed 11/12/15 Page 3 of 13

Unless otherwise indicated, the use of Defendants’ name in this Complaint
includes all agents, employees, officers, members, directors, heirs,
successors, assigns, principals, trustees, sureties, subrogees, representatives,
and insurers of Defendants’ named.

JURlleCTIoN AND VENUE

This Court has federal question jurisdiction because this case arises out of
violation of federal law. 15 U.S.C. §1681 et seq.; 28 U.S.C. §1331; Smith v.
Community Lena'ing, Inc., 773 F.Supp.2d 941, 946 (D. Nev. 2011).
Jurisdiction arises for Plaintiff"s supplemental state claims under 28 U.S.C. §
1367.

This action arises out of each Defendant’s violations of the Fair Credit
Reporting Act, 15 U.S.C. §§ 1681-1681(x) (“FCRA”).

Venue is proper in the United States District Court for the District of Nevada
pursuant to 28 U.S.C. § 1391(b) because Plaintiff is a resident ol` Clark
County, the State of Nevada and Defendants are subject to personal
jurisdiction in the County of Clark, State of Nevada as they conduct business
there, and the conduct giving rise to this action occurred in Nevada. 28
U.S.C. § 1391(b)(2). Further, Equifax has a registered agent of service in
Nevada and is listed with the Nevada Secretary of State as a foreign limited

liability company doing business in Nevada.

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Case 2:15-cv-02158-GI\/|N-CWH Document 1 Filed 11/12/15 Page 4 of 13

PARTIES

Plaintiff is a natural person residing in the County of Clark, State of Nevada.
In addition, Plaintiff is a “consumer” as that term is defined by 15 U.S.C. §
1681a(c).

Defendant BOA is a corporation doing business in the State of Nevada.
Defendant BOA is a furnisher of information as contemplated by 15 U.S.C.
§ 1681s-2(b) that regularly and in the ordinary course of business furnishes
information to a consumer credit reporting agency.

Defendant Equifax is a national credit reporting agency, doing business in
Nevada, with a principal place of business in Georgia.

GENERAL ALLEGATloNs

At all times relevant, Plaintiff was an individual residing \vithin the State of
Nevada.

At all times relevant, Defendants conducted business in the State of Nevada.
On or about 7/20/2009, Plaintiff filed for Bankruptcy in the United States
Bankruptcy Court for the District of Nevada. Plaintist case was assigned
Case Number 09-2292()-lbr (the “Bankruptcy”).

The obligations (“Debt”) to each Defendant herein (as applicable) were
scheduled in the Bankruptcy and each respective creditor-Defendant, or its
predecessor in interest, received notice of the Bankruptcy.

On or about 11/04/2009, Plaintiff received a Bankruptcy di scharge.

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Case 2:15-cV-02158-GI\/|N-CWH Document 1 Filed 11/12/15 Page 5 of 13

None of the Defendants named herein filed any proceedings to declare their
alleged debts “non-dischargeable” pursuant to l l U.S.C. § 523 er seq.

None of the Defendants named herein obtained relief from the "automatic
stay” codified at ll U.S.C. §362 et seq. while the Plaintift`s Bankruptcy was
pending to pursue the Plaintiff for any personal liability.

Accordingly, the debts to each Defendant named herein (as applicable) were
discharged through the Bankruptcy. d

Further, while the automatic stay was in effect during the Bankruptcy, it was
illegal and inaccurate for any of the creditor-defendants to report any post-
Bankruptcy derogatory collection information, which was inconsistent with
the Orders entered by the Bankruptcy Court, including the initial Petition for
Relief for Bankruptcy protection (the “Petition”). ,

Defendants named herein, and each of them, either reported or caused to be
reported inaccurate information after the Bankruptcy as discussed herein,
Defendant’s reporting post-Bankruptcy derogatory information was
inaccurate and misleading in that Defendant continued reporting information
based on Defendant’s pre-bankruptcy contract terms with the Plaintiff,
which were no longer enforceable upon the bankruptcy filing, thereby

rendering the disputed information “inaccurate”.

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Case 2:15-cV-02158-GI\/|N-CWH Document 1 Filed 11/12/15 Page 6 of 13

Additionally, Defendant’s inaccurate reporting did not comply with the
Consumer Data Industry Association’s Metro 2 reporting standards, which
provides guidance for credit reporting and FCRA compliance.

To help furnishers comply with their requirements under the FCRA, the
Consumer Data Industry Association (“CDIA”) publishes standard
guidelines for reporting data called the “Metro 2 Format.”

Notably, the payment history and account status guidelines are the same,
meaning that the “payment history” and “account status” should be reported
the same way both during and after a bankruptcy proceeding Id.

The only difference in reporting a pre-discharged debt and a discharged debt
is to delete the balance (or report a balance of $0). Id.

Indeed, the guidelines direct furnishers to report an account status as it
existed at the time the bankruptcy petition was filed and not the account
status as it would have existed in the months following the filing of the
petition if the petition had not been filed. ld.

Courts rely on such guidance to determine furnisher liability. See e.g. ln re
Helmes, 336 B.R. 105, 107 (Bankr. E.D. Va. 2005) (finding that "industry
standards require that a debt discharged in bankruptcy be reported to a credit

reporting agency with the notation `Discharged in bankruptcy' and with a

zero balance due”).

Case 2:15-cv-02158-G|\/|N-CWH7 Document 1 Filed 11/12/15 Page 7 of 13

32. Defendants did not conform to the Metro 2 Format When reporting on
Plaintiff’s accounts after the Plaintiff filed Bankruptcy as further set forth
below. To this end, the adverse reporting on the Plaintiff’s report departs
from the credit industry’s own reporting standards and was therefore
inaccurate under the CDIA’s standards as well.

BOA Misregorted Credit Information
RE: Account No. 11293*

33. ln an Equifax credit report dated June 12, 2015, BOA reported the following
inaccurate, derogatory information:

° Date Maj. Del. 1Sl Rptd 10/2009

34. BOA should not have reported derogatory information on Plaintift`s account
after 7/20/2009, because Plaintiff filed Bankruptcy on that date.

35. On or about August 20, 2015, Plaintiff disputed BOA’s reported information
regarding its reported obligation pursuant to 15 U.S.C. § 1681i(a)(2) by
notifying Equifax, in writing, of the incorrect and inaccurate credit
information furnished by BOA.

36. Specifically, Plaintiff sent a letter, certified, return receipt, to Equifax (the
“Equifax Dispute Letter”), requesting the above inaccurate and incorrect

derogatory information be removed as follows:

 

 

Furnisher Name/Address: Bank of America, N.A.
1800 Tapo Canyon

 

 

 

7

Case 2:15-cV-02158-GI\/|N-CWH Document 1 Filed 11/12/15 Page 8 of 13

 

Simi Valley, CA 93063

 

Furnisher Acct. No.: 11293*

 

 

Consumer Dispute:

¢ This account was included in my Bankruptcy which was
filed on 7/20/2009 and discharged 11/04/2009,
bearing docket No. 09-22920-lbr in the District for
Nevada. The last activity date on this account should be
no greater than the filing date, 7/20/2009. However,
this account is showing activity after the Bankruptcy
filing date, which is causing this account to remain on
my credit report longer than it should. Specifically, you
show the Date Maj. Del. 1st Rptd 10/2009.

 

 

 

37. The Equifax Dispute Letter further requested that Equifax:

0 lmmediately delete this account and the disputed derogatory
information my [Plaintiff`s] credit report.

o The discharged debt should be reported with an account balance
of $0 with a status of “current”.

o Further, there should be no post-bankruptcy activity reported on
this account. The date of last activity on this account should pre-
date my bankruptcy filing date, 7/20/2009, since a default on this
account occurred no later than the Bankruptcy filing date.

o Any post-bankruptcy derogatory information should be
immediately deleted from my report.

0 If you do not immediately delete this from my credit report,
please include a 100-word statement in my credit report of all of
the disputed information contained in this letter regarding this
account.

38. Upon information and belief, Equifax timely notified BOA of Plaintiff`s

dispute, but BOA continued reporting derogatory information.

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Case 2:15-cV-02158-GI\/|N-CWH Document 1 Filed 11/12/15 Page 9 of 13

Defendants were required to conduct a reinvestigation into this specific
account on Plaintist consumer report pursuant to 15 U.S.C. §168 l i.

On or about September 17, 2015, Plaintiff received notification from
Equifax through its “reinvestigation” (Equifax Report No. 5240065942) that
BOA and Equifax received notice of Plaintiff`s dispute pursuant to 15 U.SC.
§ l681i(a)(6), and verified the account as “Updated”.

Upon information and belief, upon receiving the Equifax Dispute Letter,
Equifax notified BOA of the dispute.

BOA and Equifax failed to conduct a reasonable investigation and wrongly
verified inaccurate information in connection with Plaintiff`s credit reports.
Surprisingly, rather than remove the derogatory information from Plaintiff`s
report, BOA and Equifax continued reporting the inaccurate derogatory
information on Plaintiff’s report. Speciflcally, BOA and Equifax reported
the following inaccurate, derogatory information:

' Date Maj. Del. 1Sl Rptd 10/2009

The false and inaccurate information was and continues to be furnished by
Defendants
BOA and Equifax, upon receipt of Plaintiff’s dispute, failed to conduct an

investigation with respect to the disputed information as required by 15

U.sc. § iesis-z(b)(i)(A).

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Case 2:15-cV-02158-GI\/|N-CWH Document 1 Filed 11/12/15 Page 10 of 13

.BOA and Equifax failed to review all relevant information provided by

Plaintiff in the dispute to Equifax, as required by and in violation of 15
U.SC. § 1681s-2(b)(1)(B).

Due to BOA’s and Equifax’s failure to reasonably investigate Plaintiff`s
dispute, they each further failed to correct and update Plaintist information
as required by 15 U.S.C. § 16813-2(b)(1)(E), thereby causing continued
reporting of inaccurate information in violation of 15 U.S.C. § 1681-
S(Z)(b)(l)(C)-

Plaintiff’s continued efforts to correct BOA’s and Equifax’s erroneous and
negative reporting of the discharged debt by communicating Plaintiff’s
dispute with BOA and Equifax were fruitless.

BOA’s and Equifax’s continued inaccurate and negative reporting of the
discharged debt in light of its knowledge of the actual error was willful.
BOA’s and Equifax’s inaccurate and negative reporting damaged Plaintiff”s
creditworthiness

By inaccurater reporting account information relating to the discharged
debt after notice and confirmation of its errors, BOA and Equifax failed to
take the appropriate measures as required under 15 U.S.C. §§ 1681-
s<z)<b)<l)<l)) and <E).

FIRST CAUSE OF AchoN
VloLATIoN OF THE FAlR CREI)IT REPoR'rING ACT

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Case 2:15-cV-02158-GI\/|N-CWH Document 1 Filed 11/12/15 Page 11 of 13

15 U.S.C. § 1681 ET SEQ. (FCRA)

52. Plaintiff incorporates by reference all of the above paragraphs of this
Complaint as though fully stated herein,

53. The foregoing acts and omissions constitute numerous and multiple willful,
reckless or negligent violations of the FCRA, including but not limited to
each and every one of the above-cited provisions of the FCRA, 15 U.S.C §
1681.

54. As a result of each and every willful violation of the FCRA, Plaintiff is
entitled to actual damages as the Court may allow pursuant to 15 U.S.C. §
1681n(a)(1); statutory damages pursuant to 15 U.S.C. § 1681n(a)(1);
punitive damages as the Court may allow pursuant to 15 U.S.C. §
1681n(a)(2); and reasonable attorney’s fees and costs pursuant to 15 U.S.C.
§ 1681n(a)(3) from Defendants.

55. As a result of each and every negligent noncompliance of the FCRA,
Plaintiff is entitled to actual damages as the Court may allow pursuant to 15
U.S.C. § 1681o(a)(1); and reasonable attorney’s fees and costs pursuant to
15 U.S.C. § 1681o(a)(2) from Defendants.

PRAYER FoR RELIEF

Plaintiff respectfully requests the Court grant Plaintiff the following relief

against Defendants:

11

Case 2:15-cV-02158-GI\/|N-CWH Document 1 Filed 11/12/15 Page 12 of 13

Flnsr CAUSE OF AchoN
VIoLATIoN OF THE FAIR CREI)!T REPORTING ACT
15 U.S.C. § 1681 ET SEQ. (FCRA)

0 an award of actual damages pursuant to 15 U.S.C. § 1681n(a)(1);
» award of statutory damages pursuant to 15 U.S.C. § 1681n(a)(1);
o an award of punitive damages as the Court may allow pursuant to 15

U.S.C. § 1681n(a)(2);
0 award of costs of litigation and reasonable attorney’s fees, pursuant to 15

U.S.C. § 1681n(a)(3), and 15 U.S.C. § 1681(0)(a)(1) against Defendant

for each incident of negligent noncompliance of the FCRA; and

0 any other relief the Court may deem just and proper.
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Case 2:15-cV-02158-GI\/|N-CWH Document 1 Filed 11/12/15 Page 13 of 13

TRlAL BY JURY

56. Pursuant to the seventh amendment to the Constitution of the United States

of America, Plaintiff is entitled to, and demands, a trial by jury.

Dated: November 12, 2015

Respectfully submitted,

By /s/ David H. Krieger, Esq.

 

David H. Krieger, Esq.

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13

